                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF MISSOURI
                             ST. JOSEPH DIVISION


VetBridge Product Development Subsidiary I
(NM-OMP), LLC,

                     Plaintiff,
                                              Civil Action No. 5:18-cv-06147-BCW
              v.

NewMarket Pharmaceuticals, LLC,

                     Defendant.


NewMarket Pharmaceuticals, LLC,

                     Third-Party Plaintiff,

              v.

VetPharm, Inc.,

                     Third-Party Defendant.




    SUGGESTIONS IN SUPPORT OF VETPHARM, INC.’S MOTION TO
DISMISS THE THIRD-PARTY COMPLAINT OR TO COMPEL ARBITRATION



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                                        INTRODUCTION

       NewMarket Pharmaceuticals, LLC (“NewMarket”) and VetPharm, Inc. (“VetPharm”) are

currently arbitrating their contract dispute. After repeated unsuccessful attempts to frustrate that

process and drag VetPharm into federal court in the District of New Jersey, NewMarket now seeks

to hale VetPharm into this Court—the site of an unrelated dispute between NewMarket and its

investor, VetBridge Product Development Subsidiary I (NM-OMP), LLC (“VetBridge”)—on a

ginned-up set of tort claims. The Court should see this tactic for what it is: a vexatious attempt to

drive up VetPharm’s litigation costs by forcing it to defend itself against unsubstantiated

allegations in an inconvenient forum. NewMarket’s third-party complaint should be dismissed on

at least four grounds.

       First, this Court lacks personal jurisdiction over VetPharm, a New York corporation that

has had a very limited connection to the State of Missouri since its founding in 2000. VetPharm’s

minimal communications with VetBridge are not enough to satisfy the minimum-contacts test.

       Second, NewMarket’s third-party complaint is procedurally improper because it asserts

claims that are logically independent of the claims asserted by VetBridge in the main action.

NewMarket does not allege that VetPharm is or may be secondarily liable for VetBridge’s claims

against NewMarket. Thus, the third-party complaint violates Rule 14 and should be dismissed.

       Third, NewMarket’s third-party claims are subject to mandatory arbitration. The parties

agreed that all disputes arising under their contract must be arbitrated, and the Eighth Circuit has

held that that language broadly encompasses both contract and related tort claims. Moreover,

because another federal court has already assumed jurisdiction over the parties in a first-filed action

related to the same contract, that court should be the only court to retain jurisdiction over the

controversy pending the completion of the arbitration.

       Finally, NewMarket’s third-party complaint fails to state a viable claim for relief. Under


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applicable New York law, NewMarket’s claim for tortious interference fails because (i) it does not

allege, as it must, that VetPharm’s actions caused VetBridge to breach an existing contractual

obligation and (ii) VetPharm’s actions were justified by its own economic interest. NewMarket’s

claim for misrepresentation claim fails because (i) it is not pleaded with particularity as required

by Rule 9(b) and (ii) NewMarket has not plausibly alleged detrimental reliance or injury.

                                      STATEMENT OF FACTS

A.      VetBridge Invests in NewMarket’s Development of an Equine Ulcer Product

        NewMarket, based in Trenton, New Jersey, owns the rights to a new method of

administering an animal drug to treat and prevent ulcers in horses. (ECF No. 54 (“Third-Party

Compl.”) ¶¶ 1, 4; ECF No. 1-1 (“Pet.”) ¶¶ 5, 7.) VetBridge, based in St. Joseph, Missouri, is a

limited liability company whose members are animal health product distributors. (Pet. ¶¶ 1, 6.) In

June 2014, NewMarket and VetBridge signed an Exclusive Distribution and License Agreement

(“EDLA”), under which VetBridge agreed to invest $4 million to fund the development of

NewMarket’s new equine ulcer product in exchange for certain exclusive rights to distribute that

product in the United States. (Third-Party Compl. ¶¶ 4, 19–22; Pet. ¶¶ 7–8.)

B.      NewMarket Retains VetPharm to Manage Its Clinical Trial

        VetPharm is a contract research organization based in East Rochester, New York, that

provides clinical trial support services to companies developing new animal drugs. (Third-Party

Compl. ¶¶ 3, 27.) VetPharm has no office, employees, physical presence, or bank accounts in

Missouri. (2019 Day Decl. ¶¶ 4–5.)1 It has conducted very limited business activities in Missouri

since its founding in 2000. (Id. ¶¶ 1, 3–6)

        In December 2014, NewMarket and VetPharm entered into a Master Services Agreement


1
    “2019 Day Decl.” refers to the accompanying Declaration of Denni O. Day, dated April 29, 2019, submitted in
support of VetPharm’s motion to dismiss based upon a lack of personal jurisdiction under Rule 12(b)(2).


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(“MSA”), in which VetPharm agreed to manage a clinical trial of NewMarket’s equine ulcer

product. (Third-Party Compl. ¶ 26; 2018 Day Decl. ¶ 2.)2 The parties agreed that all disputes

arising under the MSA (except for certain disputes to protect the parties’ preexisting confidential

information) must be submitted to mandatory arbitration. (2018 Day Decl. Ex. A § 11.11.)

C.       VetPharm Cancels the Clinical Trials Due to NewMarket’s Nonpayment

         The U.S. Food and Drug Administration directed NewMarket to split its planned clinical

trial into two trials, one to evaluate the effectiveness of NewMarket’s product in treating gastric

ulcers and one to evaluate its effectiveness in preventing them. (2018 Day Decl. ¶ 3.) VetPharm

and NewMarket executed a new Project Addendum, including a new budget, for each trial. (Id.

¶ 4.) As the trials progressed, VetPharm began invoicing NewMarket according to the terms of the

MSA and respective Project Addendums. (Id.) NewMarket, however, almost immediately began

to fall behind on its payments. (Id. ¶ 6.)

         By March 2016, NewMarket owed VetPharm more than $900,000 in unpaid invoices. (Id.

¶ 8.) After several weeks of empty assurances from NewMarket that new investor funding was

imminent, VetPharm stopped all work on both trials. VetPharm’s chief executive officer then used

information volunteered by NewMarket personnel to contact several suspected members of

NewMarket’s investor group to seek payment for VetPharm’s services. (Id. ¶¶ 9–14.) Two months

later, without new investor funding, NewMarket paid the outstanding invoices but directed

VetPharm to resume work only on the treatment trial. (Id. ¶¶ 16–17.) NewMarket soon resumed

its pattern of nonpayment and, by February 2017, it owed VetPharm more than $400,000. (Id.




2
     “2018 Day Decl.” refers to the Declaration of Denni O. Day dated October 31, 2018, which was previously filed
in this action (ECF No. 26-1). The Court may consider the declaration on a motion to dismiss because NewMarket
incorporated it by reference in its pleading (Third-Party Compl. ¶ 6). See Mattes v. ABC Plastics, Inc., 323 F.3d 695,
698 n.4 (8th Cir. 2003) (a court may consider materials “necessarily embraced by the pleadings,” including documents
that “may be viewed as attachments to [the] complaint” on a motion to dismiss under Rule 12(b)(6)).


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¶¶ 19–20.) VetPharm again stopped work on the treatment trial and filed a demand for arbitration.

(Id. ¶ 20 & Ex. B.)

D.      NewMarket Attempts to Frustrate Arbitration and Sue in the District of New Jersey

        In March 2017, NewMarket filed suit against VetPharm in the U.S. District Court for the

District of New Jersey. (ECF No. 9-2 Ex. 1; Foss Decl. Ex. 1.) NewMarket sought a preliminary

injunction to obtain the study data collected by VetPharm. The court denied NewMarket’s motion

and granted VetPharm’s cross-motion to compel arbitration. (Foss Decl. Ex. 2.) NewMarket then

attempted to frustrate the arbitration by refusing to pay its one-half share of the arbitrator’s fees.

(2018 Day Decl. ¶ 23 & Ex. E.) Unwilling to pay both parties’ arbitration fees, VetPharm withdrew

its arbitration demand. (Id. ¶ 25.)

        NewMarket went back to the New Jersey court and renewed its motion for a preliminary

injunction. The court again denied the motion and ordered the parties to return to arbitration. (Foss

Decl. Ex. 3.) The parties returned to arbitration, but NewMarket nonetheless has continued to

represent to the New Jersey court that it will not pay its arbitration fees and has made serial requests

to that court to intervene in the arbitration—all of which the New Jersey court has denied. (Foss

Decl. Exs. 4–9.) The New Jersey action remains stayed pending arbitration.

E.      VetBridge Asserts Breach-of-Contract Claims Against NewMarket in This Action

        Meanwhile, in August 2018, VetBridge filed a petition against NewMarket in Missouri

state court, alleging that NewMarket had breached the EDLA by (i) failing to adequately fund the

development of the equine ulcer products; (ii) misusing at least $1.6 million of VetBridge’s

$4 million investment for NewMarket’s overhead; and (iii) transferring certain product rights to

Aboris Animal Health, LLC (“Aboris”) and an “unnamed, overseas company.” (Pet. ¶¶ 5–42.)

NewMarket removed the action to this Court. (ECF No. 1.)

        On April 1, 2019, NewMarket filed a purported third-party complaint against VetPharm.


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(ECF No. 54.) The third-party complaint asserts two claims. First, NewMarket alleges a claim for

tortious interference with contract based on its averment that VetPharm contacted VetBridge’s

principal in March 2016. (Third-Party Compl. ¶ 41.) NewMarket alleges that this contact caused

VetBridge to cease its plans to provide additional funding to NewMarket.3 (Id. ¶ 60.) Second,

NewMarket asserts a claim for “misrepresentation” based on its allegation that VetPharm “has

offered to sell the data and information associated with the Project to at least VetBridge and

potentially other parties.” (Id. ¶ 52.)4

                                                 ARGUMENT

I.       The third-party complaint should be dismissed under Rule 12(b)(2) because
         VetPharm is not subject to personal jurisdiction in Missouri.
         On a motion challenging personal jurisdiction under Rule 12(b)(2), the plaintiff bears the

burden of showing that personal jurisdiction exists. Fastpath, Inc. v. Arbela Techs. Corp., 760 F.3d

816, 820 (8th Cir. 2014). The plaintiff must plead sufficient facts to support a reasonable inference

that the defendant may be subject to personal jurisdiction in the forum state. Id.5 That prima facie

showing “must be tested, not by the pleadings alone, but by affidavits and exhibits supporting or

opposing the motion.” Id. (internal quotation marks omitted). While genuine disputes of fact are

resolved in the plaintiff’s favor, the plaintiff retains the burden of proof. Id. Here, NewMarket has

not met its prima facie burden of pleading facts sufficient to establish either general or specific

jurisdiction over VetPharm in Missouri.




3
   It appears that the reason VetBridge refused to provide additional funding to NewMarket was that it discovered
NewMarket had overcharged VetBridge to the tune of $1.6 million. (See Pet. ¶ 22.)
4
     VetPharm strongly disputes this allegation, which appears to be a gross mischaracterization of VetPharm’s efforts
to negotiate a joint settlement among VetPharm, NewMarket, and VetBridge. (2019 Day Decl. ¶¶ 11–12.)
5
     A federal court generally looks to whether the defendant would be subject to personal jurisdiction in the courts
of the state in which it sits. See Fed. R. Civ. P. 4(k)(1)(A).



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         A.       VetPharm is not subject to general jurisdiction in Missouri because it is not
                  “essentially at home” here.

         NewMarket’s assertion that VetPharm is subject to general jurisdiction in Missouri (Third-

Party Compl. ¶ 10) is meritless. A court may only exercise general jurisdiction over a foreign

corporation if its “affiliations with the State are so ‘continuous and systematic’ as to render [it]

essentially at home in the forum State.” Daimler AG v. Bauman, 571 U.S. 117, 127 (2014) (quoting

Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). Only in an

exceptional case6 will a corporation be subject to general jurisdiction in a state other than where it

is incorporated or where it maintains its principal place of business, which are the two “paradigm”

bases for general jurisdiction. Id. at 137, 139 n.19.

         Here, NewMarket has not alleged facts that establish that VetPharm is “at home” in

Missouri—a state where it has no physical presence, has no employees or agents, and holds no

property. (2019 Day Decl. ¶¶ 4–6.) Courts have rejected attempts to impose general jurisdiction

even where the contacts between the defendant and the forum state were much more significant.

See, e.g., Daimler, 571 U.S. at 123 (defendant’s subsidiary distributed vehicles to dealerships

throughout the forum state); Goodyear, 564 U.S. at 918, 921 (defendant’s parent had a manufac-

turing facility in the forum state and regularly conducted business there, and some of the defen-

dant’s products were distributed there).7




6
      The Supreme Court identified Perkins v. Benguet Consolidated Mining Co., 342 U.S. 437(1952)—where a
Philippines-based corporation temporarily relocated its headquarters during World War II to Ohio, which served as
its “temporary” or “surrogate” principal place of business—as an example of such an exceptional case. See Daimler,
571 U.S. at 129 & n.8, 139 n.19.
7
     See also Keeley v. Pfizer Inc., 2015 WL 3999488, *2 (E.D. Mo. July 1, 2015) (defendant regularly marketed and
sold products in the forum state); Neeley v. Wyeth LLC, 2015 WL 1456984, *3 (E.D. Mo. Mar. 30, 2015) (defendant
was registered with the Missouri Secretary of State to conduct business here and designated a local agent for service
of process).



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       B.       VetPharm’s limited, incidental contacts with Missouri are insufficient to give
                rise to specific jurisdiction.

       A court may only exercise specific jurisdiction if it is permitted by the forum state’s long-

arm statute and is consistent with the Fourteenth Amendment’s Due Process Clause. Fastpath, 760

F.3d at 820. “Due process requires that a non-resident have minimum contacts with the forum state

such that maintenance of the lawsuit does not offend traditional notions of fair play and substantial

justice.” Id.; see World-Wide Volkswagen v. Woodson, 444 U.S. 286, 291–92 (1980); Int’l Shoe Co.

v. Washington, 326 U.S. 310, 316 (1945). The minimum-contacts analysis reflects the belief that

“those who live or operate primarily outside a State have a due process right not to be subjected to

judgment in its courts as a general matter.” Fastpath, 760 F.3d at 820 (quoting J. McIntyre Mach.,

Ltd. v. Nicastro, 564 U.S. 873, 881 (2011)). A nonresident defendant’s contacts with the forum

state must be sufficient so that it should reasonably anticipate being haled into court there. Id. at

821. The defendant must undertake some act by which the defendant “purposely avails itself of

the privilege of conducting activities within the forum State, thus invoking the benefits and

protections of its laws.” Id. (quoting J. McIntyre, 564 U.S. at 877). Thus, a court may not exercise

jurisdiction over a defendant based on “random, fortuitous, or attenuated contacts.” Id. (indirectly

quoting Burger King v. Rudzewicz, 471 U.S. 462, 475 (1985)). To analyze the defendant’s contacts

with the forum state, the Eighth Circuit considers five factors: (1) “the nature and quality of

contacts with the forum state; (2) the quantity of the contacts; (3) the relation of the cause of action

to the contacts; (4) the interest of the forum state in providing a forum for its residents; and

(5) convenience of the parties.” Id.

       NewMarket has not alleged sufficient contacts between VetPharm and Missouri to satisfy

the first three factors of the minimum-contacts test. NewMarket alleges only that:

               Ms. Day left a voicemail for Kevin Speltz of VetBridge on March 15, 2016 and sent



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                 him an email the same day;

                “[u]pon information and belief,” VetPharm has continued to communicate with and
                 provide updates to VetBridge;

                in October 2018, Ms. Day provided VetBridge with a sworn declaration, which
                 VetBridge filed in this action; and

                at an unspecified time, in an unspecified manner, VetPharm allegedly represented
                 to VetBridge that it could sell the clinical trial data.

(Third-Party Compl. ¶¶ 10, 41–42, 46–48, 63; 2018 Day Decl. ¶¶ 13–14.)8 Of these alleged

contacts, only the first and fourth allegedly give rise to NewMarket’s causes of action; NewMarket

does not allege any claim arising out of VetPharm allegedly providing “updates” to VetBridge or

offering Ms. Day’s declaration. Nor does NewMarket allege any facts that show that VetPharm’s

initial communication with VetBridge was specifically targeted at Missouri.

        Even if NewMarket’s allegations are taken at face value and charitably construed, they do

not establish sufficient jurisdictional contacts between VetPharm and Missouri. As the Eighth

Circuit has explained, “telephone calls, written communications, and even wire-transfers to and

from a forum state do not create sufficient contacts to comport with due process such that a foreign

corporation could ‘reasonably anticipate being haled into court there.’” Eagle Tech. v. Expander

Ams., Inc., 783 F.3d 1131, 1137 (8th Cir. 2015) (quoting Viasystems, Inc. v. EBM–Papst St.

Georgen GmbH & Co., KG, 646 F.3d 589, 594 (8th Cir. 2011)). Furthermore, the minimum-

contacts analysis “looks to the defendant’s contacts with the forum State itself, not the defendant’s

contacts with persons who reside there,” Fastpath, 760 F.3d at 823 (quoting Walden v. Fiore, 571

U.S. 277, 285 (2014)), which is all NewMarket has alleged. Thus, courts have repeatedly held that


8
    The Court may disregard NewMarket’s statement that VetPharm “regularly conduct[s] business” in this District
(Third-Party Compl. ¶ 10) on the basis that it is conclusory, see Twombly, 550 U.S. at 555, and because VetPharm has
adequately rebutted that allegation by submitting a detailed declaration by Ms. Day, its chief executive officer.



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merely communicating with a forum-state resident—including conduct more sustained and

deliberate than that alleged here—is insufficient to warrant the exercise of personal jurisdiction

over a nonresident defendant. See Eagle Tech., 783 F.3d at 1137 (nonresident defendant sent “daily

emails, phone calls, and other communications” to the plaintiff’s Missouri residence); Fastpath,

760 F.3d at 823 (nonresident defendant engaged in an “aggressive pursuit” of a business

relationship with the forum-state plaintiff by sending emails and making telephone calls to forum

state); Viasystems, 646 F.3d at 593 (nonresident defendant sent several emails and made phone

calls to the forum-state plaintiff, sent a partial payment to the forum state, and allegedly caused

tortious injury in the forum state); Burlington Indus., Inc. v. Maples Indus., Inc., 97 F.3d 1100,

1102–03 (8th Cir. 1996) (nonresident defendant made “at least 100” phone calls to forum-state

entity and purchased machines from forum-state entity that allegedly used the plaintiff’s trade

secrets).

        Likewise, the final two factors—Missouri’s interest in providing a forum for its residents

and the convenience of the parties—do not support jurisdiction here. The third-party claims at

issue involve conduct by a New York corporation that allegedly occurred in New York and

allegedly caused injury to a New Jersey company. Missouri, which is merely where many (but not

all) of VetPharm’s emails happen to have been received by the representative of one member

company in VetBridge, has no governmental interest in providing a forum to resolve this dispute,

which only tangentially touches upon Missouri. Nor would Missouri be a convenient location for

NewMarket and VetPharm to resolve their dispute. This forum is remote from both VetPharm’s

and NewMarket’s headquarters and from the residences of their respective principals. The dispute

can be more conveniently and efficiently resolved as part of their active arbitration.

        In short, exercising personal jurisdiction over VetPharm here would be inconsistent with




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constitutional due process—as confirmed by applying the five-factor specific jurisdiction test.

        C.       VetPharm has not waived personal jurisdiction.

        There is no merit to NewMarket’s allegation that VetPharm waived a personal jurisdiction

challenge by “submitting sworn testimony by way of declaration in the present action.” (Third-

Party Compl. ¶ 10.) “To waive or forfeit a personal jurisdiction defense, a defendant must give a

plaintiff a reasonable expectation that it will defend the suit on the merits or must cause the court

to go to some effort that would be wasted if personal jurisdiction is later found lacking.” Mobile

Anesthesiologists Chicago, LLC v. Anesthesia Assocs. of Houston Metroplex, P.A., 623 F.3d 440,

443 (7th Cir. 2010) (no waiver where defendant asked the court to delay a preliminary injunction

hearing or by seeking expedited discovery to prepare for that hearing).9

        No waiver or forfeiture occurred here. Contrary to NewMarket’s suggestion, VetPharm did

not appear in this litigation or submit any declaration. It was VetBridge that submitted the

declaration of Ms. Day, which was made and executed in New York. The fact that Ms. Day

provided VetBridge with a witness declaration in no way signaled to NewMarket that VetPharm

was amenable to suit in this court. At the time, VetPharm was not a party to this action and could

not have anticipated that it would become a party. It certainly did nothing to convey to NewMarket

that, if named as a third-party defendant, VetPharm would litigate here on the merits.

II.     NewMarket’s purported third-party complaint against VetPharm is
        improper under Rule 14 because it asserts claims that are independent of
        VetBridge’s claims against NewMarket.
        NewMarket’s claims against VetPharm should be dismissed because they are not valid

third-party claims. Rule 14, which governs third-party practice, allows a defendant to implead a



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    See also Gerber v. Riordan, 649 F.3d 514, 519 (6th Cir. 2011) (filing a motion to stay or a to vacate a default
judgment was insufficient to constitute waiver; but entry of a general appearance by defendant’s counsel—more than
two years before moving to dismiss for lack of persona jurisdiction—did constitute waiver).



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third party “who is or may be liable to [the defendant] for all or part of the claim against [the

defendant].” Fed. R. Civ. P. 14(a)(1). The rule authorizes a third-party complaint “only if that third

person’s liability on that claim is in some way dependent upon the outcome of the main claim.”

Mattes v. ABC Plastics, Inc., 323 F.3d 695, 698 (8th Cir. 2003) (quoting United States v.

Olavarrieta, 812 F.2d 640, 643 (11th Cir. 1987)). It “does not allow the defendant to assert a

separate and independent claim even though the claim arises out of the same general set of facts

as the main claim.” Id. Put differently, a third-party claim must not merely be factually similar to

the main claim—it must be logically dependent upon its outcome. Owen Equip. & Erection Co. v.

Kroger, 437 U.S. 365, 376 (1978); see also 6A Charles Alan Wright et al., Federal Practice &

Procedure Civ. § 1446, Westlaw (3d ed. updated Apr. 2019).

       A third-party complaint must be dismissed where, as here, its proponent does not allege a

valid legal theory under which the third-party defendant is or may be liable for all or part of the

main claim. See, e.g., Mattes, 332 F.3d at 698–99 (affirming dismissal of third-party complaint

because its proponent offered “no coherent legal theory” under which the third-party defendant

would be liable for the main claim); W. World Ins. Co. v. Halphin, 2014 WL 3730456, *1–2 (W.

D. Mo. July 28, 2014); Joe Hand Promotions, Inc. v. In Your Ear, LLC, 2013 WL 12145860, *4

(W.D. Mo. July 26, 2013); Advanced Lipo Dissolve Ctr., LLC v. Karkkainen, 2007 WL 844822,

*2–5 (E.D. Mo. Mar. 19, 2007).

       Here, there is no logical connection between VetBridge’s claims against NewMarket and

NewMarket’s claims against VetPharm. In its pleading, VetBridge alleges that NewMarket

breached the EDLA by (i) failing to provide the funding necessary to secure and obtain approval

of its equine ulcer product from the FDA so that VetBridge could distribute it; (ii) using

VetBridge’s $4 million investment to pay its own expenses and overhead in violation of the




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limitations in the EDLA; and (iii) transferring certain ownership interests and rights to Aboris and

an “unnamed, overseas company.” (Pet. ¶¶ 5–42.) NewMarket’s third-party claims against

VetPharm have nothing to do with the breach-of-contract claims made by VetBridge against

NewMarket. NewMarket does not allege (nor could it) that its breaches of the EDLA were caused

by VetPharm’s communications with VetBridge. Indeed, NewMarket fails to plead any theory by

which VetPharm’s alleged conduct would cause it to be liable for all or part of the damages that

VetBridge may recover against NewMarket for breaching the EDLA. Accordingly, NewMarket

cannot implead VetPharm under Rule 14.

III.     NewMarket’s third-party claims are subject to mandatory arbitration.
         NewMarket’s third-party claims must be arbitrated. The MSA requires that, with one

exception not relevant here,10 that “any dispute arising” under the MSA be submitted to binding

arbitration. (2018 Day Decl. Ex. A § 11.11.) As the Eighth Circuit has held, arbitration provisions

with “arising under” language are broadly construed to encompass claims sounding in tort “as long

as the underlying factual allegations simply ‘touch matters covered by’ the arbitration provision.

PRM Energy Sys., Inc. v. Primenergy, L.L.C., 592 F.3d 830, 837 (8th Cir. 2010); see also Hudson

v. ConAgra Poultry Co., 484 F.3d 496, 499–503 (8th Cir. 2007).11 Moreover, “‘[a]s a matter of

federal law, any doubts concerning the scope of arbitrable issues should be resolved in favor of

arbitration.’” PRM Energy Sys., 592 F.3d at 836 (quoting Moses H. Cone Mem’l Hosp. v. Mercury

Constr. Corp., 460 U.S. 1, 24–25 (1983)).

         NewMarket’s third-party claims arise under the MSA. Both its tortious interference claim



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     The exception relates to the treatment of preexisting confidential information under Section 5 of the MSA. The
New Jersey court has already ruled, in a sealed memorandum opinion, that clinical trial information does not fall into
that category. VetPharm is prepared to provide this Court with a copy of the sealed memorandum opinion in camera.
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    In any event, under New York law, NewMarket’s claims would be categorized as contract claims because it is
merely seeking to enforce its bargain. See N.Y. Univ. v. Cont’l Ins. Co., 662 N.E.2d 763, 768 (N.Y. 1995).



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and its misrepresentation claim concern clinical trial data collected by VetPharm in the course of

its performance under the MSA. The former claim is premised on the allegation that VetPharm’s

communication to VetBridge was wrongful because it allegedly contained characterizations of the

clinical trial data, which NewMarket alleges violated its contractual rights under the MSA. (Third-

Party Compl. ¶¶ 26–31, 41.) The second claim is premised upon the allegation that VetPharm

represented to VetBridge that it owned that clinical trial data and could sell it—again an alleged

violation of NewMarket’s contractual rights. (Id. ¶¶ 28, 31, 49–51, 63.) Thus, both claims are

inextricably linked to the MSA and fall within the scope of the arbitration provision.

        Ordinarily, the Court might issue an order staying the arbitrable claims and referring the

parties to arbitration. See 9 U.S.C. § 3. But this case also implicates the first-to-file rule, which

provides that the first federal court to obtain jurisdiction over the parties to a dispute has priority.

See Orthmann v. Apple River Campground, Inc., 765 F.2d 119, 121 (8th Cir. 1985); HRB Tax Grp.,

Inc. v. Nat'l Union Fire Ins. Co. of Pittsburgh, PA, 2012 WL 4363723, at *1 (W.D. Mo. Sept. 21,

2012) (Wimes, J.). Applying this rule, the Court should dismiss this action in favor of the first-

filed in the District of New Jersey between the same parties and concerning the same contract and

set of transactions as is pleaded in the third-party complaint. The New Jersey court has correctly

referred NewMarket’s and VetPharm’s dispute to arbitration, and only the New Jersey court should

retain jurisdiction over the parties pending the outcome of that arbitration.

IV.     Alternatively, the third-party complaint should be dismissed under
        Rule 12(b)(6) because NewMarket fails to state a viable claim for relief.
        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

The pleading must “allow[] the court to draw the reasonable inference that the defendant is liable



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for the misconduct alleged.” Id. In evaluating the pleading, the court may disregard labels, con-

clusions, formulaic recitations, and naked assertions. Twombly, 550 U.S. at 555–57.

       A.      New York governs NewMarket’s claims against VetPharm.

       As a court sitting in diversity jurisdiction, this Court must apply Missouri’s choice-of-law

rules, which call for the application of the substantive law of the state with the “‘most significant

relationship’ to the occurrence and to the parties.” Winter v. Novartis Pharm. Corp., 739 F.3d 405,

410 (8th Cir. 2014). In tort actions, this involves consideration of four factors: (1) “the place where

the injury occurred”; (2) “the place where the conduct causing the injury occurred”; (3) “the

domicil, residence, nationality, place of incorporation and place of business of the parties”; and

(4) “the place where the relationship, if any, between the parties is centered.” Id.

       The first three factors are evenly split between New York and New Jersey, given that the

alleged conduct occurred in VetPharm’s home state of New York but allegedly caused injury in

NewMarket’s home state of New Jersey. The fourth factor, however, decidedly tips in favor of

applying the law of New York—the state where the parties’ contractual relationship is centered

and where VetPharm conducted virtually all of its clinical trial related activities under the MSA.

(2019 Day Decl. ¶ 8.) Indeed, the MSA calls for the application of New York law. (Id.)

       B.      NewMarket does not state a viable claim for tortious interference.

       NewMarket’s claim for tortious interference with contract fails for two reasons.

       First, an essential element of the tort is that the defendant induced an actual breach of the

contract by a third party. See NBT Bancorp Inc. v. Fleet/Norstar Fin. Grp., Inc., 664 N.E.2d 492,

495 (N.Y. 1996); Lama Holding Co. v. Smith Barney Inc., 668 N.E.2d 1370, 1375 (N.Y. 1996). But

NewMarket identifies no provision of the EDLA that required VetBridge to continue providing

funding to NewMarket above its $4 million initial investment. Rather, NewMarket alleges that the

parties had contemplated an amendment to the EDLA under which VetBridge might have provided


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additional funding to NewMarket, but VetBridge declined to go forward with that amendment.

(Third-Party Compl. ¶¶ 35–36, 44.) Thus, NewMarket fails to allege that VetPharm’s alleged inter-

ference caused VetBridge to breach an existing contractual obligation.

       Second, VetPharm’s actions were justified because it acted in its own economic self-

interest, which is a defense to a tortious interference claim. See Foster v. Churchill, 665 N.E.2d

153, 156–57 (N.Y. 1996); Torrenzano Grp., LLC v. Burnham, 26 A.D.3d 242, 243 (N.Y. App. Div.

2006). NewMarket acknowledges that VetPharm’s motivation for contacting VetBridge was to

obtain payment for its services. (Third-Party Compl. ¶¶ 29, 39; 2018 Day Decl. ¶¶ 9–16.) To

overcome an economic justification defense, NewMarket would have to show either that VetPharm

acted with malice or that it used fraudulent or illegal means, Foster, 87 N.Y.2d at 750. NewMarket

has not alleged facts that would support either exception.

       C.      NewMarket does not state a viable claim for misrepresentation.

       To state a claim for fraudulent misrepresentation, a plaintiff must plead, among other

things, that it justifiably relied upon the alleged misrepresentation to its detriment. Pasternack v.

Lab. Corp. of Am. Holdings, 59 N.E.3d 485, 491–93 (N.Y. 2016). Reliance by a third party will

not suffice. Id. NewMarket fails to allege that it (or anyone else, for that matter) relied on

VetPharm’s alleged statement concerning its ability to sell the clinical trial data. (See Third-Party

Compl. ¶¶ 63–69.) Further, NewMarket has not plausibly alleged any injury stemming from

VetPharm’s alleged statement. NewMarket includes only a vague, conclusory allegation that the

statement has had an unspecified impact on NewMarket’s ability to sell the clinical trial data. (Id.

¶ 68.) But NewMarket’s inability to sell the data stems from the fact that it does not have the data

because it has not paid for it. NewMarket offers no plausible connection between VetPharm’s

alleged statement to VetBridge and its own inability to sell the clinical trial data.

       NewMarket’s misrepresentation claim also violates Rule 9(b), which requires a party to


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plead the “who, what, where, when, and how of the alleged fraud,” including “the time, place and

contents of the false representations, as well as the identity of the person making the

misrepresentation and what was obtained or given up thereby.” BJC Health Sys. v. Columbia Cas.

Co., 478 F.3d 908, 917 (8th Cir. 2007) (internal quotation marks omitted). NewMarket’s bare-

bones allegations fail to include this necessary detail.

                                         CONCLUSION

       For the foregoing reasons, VetPharm respectfully requests that the Court dismiss the third-

party complaint.

Dated: April 29, 2019

                                                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE
        I hereby certify that on April 29, 2019, I electronically filed the foregoing with the Clerk
of the Court and that an electronic notice of filing and a copy of the foregoing will automatically
be sent to all counsel of record in this matter via the Court’s ECF filing system.


                                                            /s/ Lee C. Tieman
                                                         Lee C. Tieman




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